
USCA1 Opinion

	





        November 13, 1995       [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT






                                 ____________________


        No. 95-1382 

                                 ALEX A. TARABOLSKI,

                                Plaintiff, Appellant,

                                          v.

                             THE TOWN OF SHARON, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Rya W. Zobel, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                Selya, Cyr and Boudin,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Alex A. Tarabolski on brief pro se.
            __________________
            Steven  R. Kruczynski  and Pamela  Storm on  brief  for appellees,
            _____________________      _____________
        Town  of  Sharon, Roni  Thaler, Henry  D.  Katz, Norman  Katz, Timothy
        Earley, David Martin and James Polito.
            Susan  E. Bernstein and  Morrison, Mahoney  &amp; Miller  on brief for
            ___________________      ___________________________
        appellees, Donald Williams,  Frederick J. Jones,  Jr., Bernard  Coffey
        and Joseph Bernstein.


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                 Per  Curiam.     Alex  A.  Tarabolski  filed  pro  se  a
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            complaint alleging  that on  January 18, 1991,  Sharon police

            officer Donald Williams broke into his home and forced him to

            enter a hospital for  psychiatric examination in violation of

            his  federal  civil rights  and state  law.   In  addition to

            Williams,  Tarabolski sued  various  other  past and  present

            members of  the Sharon Police Department,  various members of

            the Sharon  Fire  Department, the  selectmen of  the Town  of

            Sharon, and the Town of Sharon.  The district court dismissed

            with prejudice  the claims  against the selectmen,  the Town,

            and the  fire department  officials  after Tarabolski  flatly

            refused  to  comply with  the court's  order  to file  a more

            definite  statement.  See Fed.  R.  Civ. P.  12(e).   Summary
                                  ___

            judgment  was  entered  in  favor of  the  police  department

            defendants on the remaining federal and state law claims. See
                                                                      ___

            Fed. R. Civ. P. 56(c).  This appeal followed.

                 Having reviewed the complaint, we are persuaded that the

            district  court  did not  abuse  its  discretion in  ordering

            Tarabolski  to   file  a   more  definite  statement.     The

            allegations  against the  selectmen, the  Town, and  the fire

            department  officials  were  vague  and  conclusory.    Given

            Tarabolski's  unwillingness  to elucidate,  and  the apparent

            lack  of merit  to his  claims, we  think the  district court

            acted within its discretion  in dismissing the claims against

            these defendants.  Cf. Kuehl v. FDIC, 8 F.3d 905, 908-09 (1st
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            Cir.  1993)  (affirming  dismissal  with prejudice  based  on

            plaintiff's failure  to comply  with Fed. R.  Civ. P.  8(a)),

            cert. denied, 114 S. Ct. 1545 (1994).
            ____________

                 We review de novo the grant of summary judgment in favor
                           __ ____

            of the  police department defendants and  affirm the judgment

            essentially for the reasons stated by the district court.  We

            add  that   the  same  facts  which   justified  Williams  in

            concluding that Tarabolski required protective  custody would

            also  justify  a  reasonable  officer in  believing  that  an

            emergency warrantless  entry was appropriate.   See Mincey v.
                                                            ___ ______

            Arizona,  437 U.S.  385, 392-93 (1978)  (discussing emergency
            _______

            exception to  warrant requirement); Sheik-Abdi  v. McClellan,
                                                __________     _________

            37  F.3d 1240, 1244 (7th Cir. 1994) (same), cert. denied, 115
                                                        ____________

            S. Ct.  937 (1995).   Under  the circumstances,  the district

            court  did not  err in  ruling that  Williams is  entitled to

            qualified immunity.   See Hegarty v. Somerset County, 53 F.3d
                                  ___ _______    _______________

            1367, 1372-79 (1st Cir. 1995) (qualified immunity affords law

            enforcement officials  a  safe  haven  where  the  challenged

            conduct is objectively reasonable).

                 We have carefully considered Tarabolski's  objections to

            various interim rulings of the district court and reject them

            as without merit.   We note, in particular, that  there is no

            absolute constitutional  right to  a free  lawyer in  a civil

            case,   see  DesRosiers v. Moran,  949 F.2d 15,  23 (1st Cir.
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            1991), and we  find no  abuse of discretion  in the  district



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            court's denial of  Tarabolski's requests for  court-appointed

            counsel.   Finally, we add that to the extent that Tarabolski

            seeks  relief  from  judgment   under  Rule  60(b)  based  on

            allegations   of  fraud,  such  a  request  is  appropriately

            addressed to the district court.  

                 Affirmed.  No costs.
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